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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 Robert Lewis,                       )
                                     )
              Plaintiff,             )
                                     )
       vs.                           ) Case No.:1:17-cv-2558-TWP-MPB
                                     )
 Online Information Services, Inc.,  )
                                     )
              Defendant.             )
 ____________________________________)_____________________________________


                            ORDER OF DISMISSAL WITH PREJUDICE

        Pursuant to the Joint Stipulation of Dismissal with Prejudice filed by the Parties in this

 cause, this cause of action is hereby dismissed with prejudice, with each party to bear their own

 attorney fees and costs.

       Date: 12/19/2017

                                                     ________________________
                                                     Hon. Tanya Walton Pratt, Judge
                                                     United States District Court
                                                     Southern District of Indiana




 ECF notification:

 Copies to electronically registered counsel of record.
